Case 2:24-cv-00123-SAB ECF No. 30 filed 05/14/24 PagelD.1230 Page 1 of 6

CHRISTOPHER J. KERLEY, WSBA #16489
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Counsel for Defendant Peter Erbland.

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF WASHINGTON

ANDREA D. GEORGE, Case No. 2:24-CV-00123-SAB
Plaintiffs, DECLARATION OF CHRISTOPHER J.
KERLEY IN SUPPORT OF DEFENDANT
vs. PETER ERBLAND’S JOINDER IN

COLVILLE DEFENDANTS’ MOTION TO
THE COLVILLE CONFEDERATED TRIBES; | DISMISS

RODNEY CAWSTON; ANDREW JOSEPH,
JR.; JACK FERGUSON; RICHARD SWAN,
SR.; MARVIN KHEEL; JOSEPH SOMDAY;
JOEL BOYD; RICHARD MOSES; ALICE
KOSKELA; SHANNON THOMASL JASON
D’AVIGNON; and PETER ERBLAND,

Defendants.

I, CHRISTOPHER J. KERLEY, hereby declare as follows:

1. I am over the age of eighteen years and have firsthand knowledge of the facts set forth

below.
2. Iam the lawyer for Defendant Peter Erbland in this matter.

3. I was the lawyer/spokesperson for all Respondents other than Peter Erbland in the Tribal
Court matter filed by Andrea George in 2019, as represented by Exhibits 1 and 2 to the
Declaration of William Dow. ECF No. 28-1, ECF No. 28-2.

DECLARATION OF CHRISTOPHER J. KERLEY IN

SUPPORT OF DEFENDANT PETER ERBLAND’S 818 W. Riverside, Suite #280
. IKNIverside, ouite

JOINDER IN COLVILLE DEFENDANTS’ MOTION TO Spokane, WA 99201-0910

DISMISS - Page 1 P: (509) 455-5200 | F: (509) 455-3632

Evans, Craven L Lackie, P.S.

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4, The Summary Judgment Order issued by Judge Aycock (ECF No. 28-2), was affirmed by
the Colville Tribal Court of Appeals when the Court of Appeals dismissed the appeal at the
Initial Hearing. Attached hereto as Exhibit 1 is a true and correct copy of that Order of

Dismissal.

I declare under the penalty of perjury under the laws of the State of Washington that the
foregoing is true and correct.

DATED this_\(_ day of May, 2024.

EVANS, CRAVEN & LACKIE, P.S.

Mi

CHRIST .KERLEY, WSBA #16489
Attorneys for Defendant Peter Erbland

818 W. Riverside, Suite #250

Spokane, WA 99201

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DECLARATION OF CHRISTOPHER J. KERLEY IN Evans, Craven &L Lackie, PS
SUPPORT OF DEFENDANT PETER ERBLAND’S , $18 W. Riverside Suite 1950
JOINDER IN COLVILLE DEFENDANTS’ MOTION TO Spake, WA 99201-0910
DISMISS - Page 2 P: (509) 455-5200 | F: (509) 455-3632

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CERTIFICATE OF SERVICE

The undersigned hereby certifies under penalty of perjury under the laws of the State of
Washington, that on the HY May of May, 2024, a true and correct copy of the foregoing was

delivered to the following persons in the manner indicated:

Plaintiff:

VIA REGULAR MAIL [|
VIA CERTIFIED MAIL [ ]
VIA FACSIMILE [ ]
HAND DELIVERED [ ] |
EMAIL [

ANDREA D, GEORGE

PO Box 19394

Spokane, WA 99219

E: ageorge26@icloud.com

Counsel for Defendants CCT, R. Cawston, A. Joseph, Ir. |. Ferguson, R. Swan, Sr., M. Kheel, J.
somday, |. Boyd, R. Moses, A. Koskela, S. Thomas & J. D'Avignon:

THOMAS B. NEDDERMAN, WSBA #28944

WILLIAM J. Dow, WSBA #51155 VIA REGULAR MAIL i
Floyd, Pflueger, Kearns, Nedderman & Gress, P.S., VIA CERTIFIED MAIL [ ]

3101 Western Ave., Suite #400 VIA FACSIMILE [ ]

Seattle, WA 87121 HAND DELIVERED [ ]

E: tnedderman@NWTrialAttorneys.com EMAIL [

E: wdow@NWTrialAttorneys.com

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Chyanne C. Isom

DECLARATION OF CHRISTOPHER J. KERLEY IN

SUPPORT OF DEFENDANT PETER ERBLAND’S EMT Reet cae
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JOINDER IN COLVILLE DEFENDANTS’ MOTION TO Spokane, WA 99201-0910

DISMISS - Page 3 P: (509) 455-5200 | F: (509) 455-3632

Evans, Craven & Lackie, B.S.

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EXHIBIT 1
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IN THE COURT OF APPEALS OF THE CONFEDERATED
TRIBES OF COLVILLE RESERVATION

Andrea GEORGE,
Appellant,

vs.

THE COLVILLE CONFEDERATED

TRIBES OF THE COLVILLE

RESERVATION; Rodney CAWSTON, a married
individual in his official and

individual capacity; Andrew JOSEPH,

JR., a married individual in his official and

individual capacity; Jack FERGUSON; a

single individual in his official and individual capacity;
Richard SWAN, SR., a single individual in his official
and individual capacity; Karen CONDON, a single
individual in her official and individual capacity;
Marvin KHEEL, a single individual in his official and
individual capacity; Joseph SOMDAY, a single
individual in his official and individual capacity;
Margaret HUTCHINSON, a married individual in her
official and individual capacity; Joel BOYD, a single
individual in his official and individual capacity; Janet
NICHOLSON, a single individual in her official and
individual capacity; Norma SANCHEZ, a married
individual in her official and individual capacity;
Richard MOSES, a single individual in his official and
individual capacity; Susie ALLEN, a married
individual in her official and individual capacity; Alice
KOSKELA, a married individual in her official and
individual capacity; Shannon THOMAS, a married
individual in her official and individualcapacity; Jason
D’ AVIGNON, a marriedindividual in his official and
individual capacity; Peter ERBLAND, in his individual
capacity,

Appellees.

CASE NO. AP21- 016

ORDER DISMISSING
APPEAL WITH PREJUDICE
AT INITIAL HEARING

Order, AP21-016
Page 1 of 2

Colville Tribal Court of Appeals
P O Box 150, Nespelem WA 99155

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ORDER
In late January, 2019 Appellant Andrea George filed a civil complaint against The
Confederated Tribes of the Colville Reservation (CCT), thirteen (13) Council members, past and
current, three (3) attorney employees, past and current, of the Office of Reservation Attomeys
(ORA), and Peter Erbland, a contract attorney who had done work for the Council. In total, the
number of Respondents was eighteen (18). The complaint is not file-stamped by the Trial Court,
but it was signed by Appellant on January 25, 2019.

After a very lengthy statement of allegations against each of the Respondents, both
singularly and severally, Appellant identified four (4) specific counts of actions of the
respondents upon which she based her lawsuit: (1) Sexual Harassment; (2) Intentional Affliction
of Emotional Distress; (3) Retaliation; and (4) Defamation.

The Trial Court, after considering the record and pleadings of the parties, granted
Respondents’ Motion for Summary Judgment. The Motion was filed by all of the Respondents
except Mr. Erbland. Mr. Erbland joined in the Motion. The Trial Court found Gabriel v. Colville
Business Council, 14 CCAR 05 (2018) dispositive in that Gabriel held actions regarding CBC
members’ ethics and ability to remain a CBC member “lies exclusively within the constitutional
and statutory powers and authority of the CBC itself.” id.. That is, separation of powers prevents
our review of the actions of the CBC in their capacity as CBC members.

The Trial Court addressed each individual Count, too, discussing the doctrine of
sovereign immunity. We need not review the case further then finding we have no subject matter
jurisdiction over the case. Sovereign immunity is an affirmative defense, which is raised when
the Court has subject matter jurisdiction. See Swan v. CBC, 11 CCAR 83 (2014).

As for the actions against Peter Erbland, they are not actionable in this case. Mr. Erbland
merely gave legal advice to the CBC; he did not cause any of the allegations against the other
Respondents/Appellees.

Based on the foregoing, now therefore

It is ORDERED that the Trial Court’s Order of October 18, 2021 is AFFIRMED and this
Appeal is DISMISSED, WITH PREJUDICE, and REMANDED to the Trial Court for actions
consistent with this Order.

DATED this 12" day of April, 2022.

Mata Da

Anita Dupris, Chief Justice

Order, AP21-016 Colville Tribal Court of Appeals
Page 2 of 2 P O Box 150, Nespelem WA 99155
I certify that I served a copy of thiy document on:
DG Armee Came FA Las il
DA Appelice Counsel 73K 3 Evbland- Fro St
(J% Appellare Panel AD, [COA Bench (oy,
IM: [Trial Court | JCPCR [XC TTC Bench (D

Date A-Vys 2 initials; QUA
